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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   JOSE VAZQUEZ

   Plaintiff,

   v.
                                                         Case No. 6:18-cv-1288-Orl-41TBS
   STRADA SERVICES INC.
   formerly known as DEL-AIR
   ELECTRICAL SERVICES, INC.,

   Defendant.


                             JOINT NOTICE OF SETTLEMENT

           Plaintiff JOSE VAZQUEZ and Defendant STRADA SERVICES INC., by and

  through their undersigned counsel and pursuant to M.D. Fla. R. 3.08, hereby notify the

  Court that the parties have reached a settlement in the above referenced matter. Upon

  execution of the agreement, the parties will file a joint motion for approval of settlement.

           Dated January 17, 2019.

  Respectfully submitted,

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